                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:10cr227


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                    ORDER
                                         )
JAMIE WRIGHT (2)                         )
________________________________________ )


       THIS MATTER is before the Court upon motion of the defendant pro se for review of

detention. (Doc. No. 86).

       The defendant pled guilty to Count One of the indictment on March 4, 2011, charging

conspiracy to possess with intent to distribute 50 grams or more of cocaine base. (Doc. No. 70:

Plea Agreement; Doc. No. 77: Acceptance and Entry of Guilty Plea). Thus, the defendant has

been found guilty and is awaiting imposition of sentence for an offense described in subparagraph

(C) of subsection (f)(1) of 18 U.S.C. § 3142. Pursuant to § 3143(a)(2), the defendant shall be

detained unless the Court finds a substantial likelihood that a motion for acquittal or new trial will

be granted; or an attorney for the government has recommended that no sentence of imprisonment

be imposed; and the Court finds by clear and convincing evidence the person is not likely to flee

or pose a danger to any other person or the community. 18 U.S.C. § 3143(a)(2)(A)(i), (ii) and (B).

A defendant may also be released if it is clearly shown that there are exceptional reasons why his

detention would not be appropriate. 18 U.S.C. § 3145(c).

       Upon review of the record, even in a light most favorable to the defendant, the Court finds

the defendant has not alleged or established facts that would warrant his release pending

sentencing. The defendant’s desire to spend time with his family, including his elderly mother, is




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understandable, but not exceptional. Thus, the Court is obligated by the statute to detain the

defendant because the prerequisites for release have not been met.

       IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals service, and the U.S.

Probation office.

                                                  Signed: May 10, 2011




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